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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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: Chapter 11

In re: :
: Case No. 17-12082 (KJC)

APPVION, INC., ef al.,’
: (Jointly Administered)
Debtors.

x. Related D.I. Nos: 194 & 260

ORDER DISMISSING THE CHAPTER 11 CASE OF
APPVION GLOBAL NETHERLANDS COOPERATIEFR U.A,

This matter coming before the Court upon the Motion of the Debtor to Dismiss the
Chapter 11 Case of Appvion Global Netherlands Codperatief U.A. (the “Motion”),” filed by
Appvion Global Netherlands Codperatief U.A. (the “Debtor”) for an order, pursuant to sections
105{a), 305(a) and 1112(b) of the Bankruptcy Code, Rules 1017 and 2002 of the Bankruptcy
Rules, and Rule 1017-2 of the Local Rules, dismissing the chapter 11 case of Appvion Global
Netherlands Coéperatief U.A.; and the Court having found that G) the Court has jurisdiction
over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of
Reference from the United States District Court for the District of Delaware, dated as of
February 29, 2012, (11) this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b), Gi)
venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409, (iv) notice of the Motion and hearing

scheduled with respect to the Motion was appropriate given the circumstances and no other or

 

' The Debtors in these chapter |1 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Appvion, Inc. (6469), Paperweight Development Corp. (4992), PDC Capital Corporation
(1197), Appvion Receivables Funding 1 LLC (9218), APVN Holdings LLC (8543) and Appvion Global Netherlands
Cooperatief UA (8258). The corporate headquarters and the mailing address for the Debtors listed above is 825 East
Wisconsin Avenue, P.O, Box 359, Appleton, Wisconsin.

, Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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further notice being required; and the legal and factual bases set forth in the Motion and any
hearing thereon establish just cause for the relief granted in this Order; and any objections to the
requested relief having been withdrawn or overruled; and after due deliberation; and good and
sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

l The Motion is GRANTED as set forth in this Order.

2, The chapter 11 case of Appvion Global Netherlands Codéperatief U.A. is
DISMISSED pursuant to sections 1112(b) and 305(a) of the Bankruptcy Code, with such
dismissal to be effective immediately upon the entry of this order.

3. Parties in interest are directed to use the consolidated caption, annexed to this
Order as Exhibit 1, when filing a pleading with the Court in the chapter 11 cases of the
Company, which consolidated caption satisfies the requirements of section 342(c) of the
Bankruptcy Code.

4, The Debtors are authorized and empowered to take such steps and perform such
acts as may be necessary or appropriate to implement and effectuate the terms of this Order.

5s This Court shall retain jurisdiction over any and all matters arising from the

interpretation or implementation of this Order.

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No i) , 2017 ~\ A (!
Wilmington, Delaware AA \ AM ALAA

THE HONORABIE KEVIN J./GAREY
UNITED STATES BANKRUPTCY JUDGE

Dated:

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